     Case 3:19-cv-00084-RCJ-WGC Document 6 Filed 07/09/20 Page 1 of 1



 1

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10

11    ANDRUE LEE JEFFERSON,                            Case No. 3:19-cv-00084-RCJ-WGC
12                       Petitioner,                   ORDER
13           v.
14    PERRY RUSSELL, et al.,
15                       Respondents.
16

17          In this closed action under 28 U.S.C. § 2254, petitioner has filed a letter docketed as a

18   motion requesting docket entry list of the last entered pleading or order (ECF No. 5). The court

19   will grant the motion and send petitioner a copy of the docket sheet.

20          IT THEREFORE IS ORDERED that petitioner's motion requesting docket entry list of the

21   last entered pleading or order (ECF No. 5) is GRANTED. The clerk of the court is directed to

22   send petitioner a copy of the docket sheet.

23          DATED: July 9, 2020.
24                                                                ______________________________
                                                                  ROBERT C. JONES
25                                                                United States District Judge
26
27

28
                                                       1
